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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                             Criminal No.: 1:22-cr-00354-RCL-1

 -v-                                         DEFENDANT’S MOTION TO
                                             CONTINUE
 RICHARD SLAUGHTER,

                    Defendant.


        DEFENDANT RICHARD SLAUGHTER’S UNOPPOSED MOTION
                          TO CONTINUE STATUS HEARING

       NOW comes Defendant Richard Slaughter, by and through undersigned counsel,

hereby respectfully moves the Court for an order on an unopposed motion continuing the

status hearing scheduled for March 28, 2023, at 12:30 PM via Zoom before Judge Royce

C. Lamberth, on the basis that the Government has extended the plea offer to April 7,

2023. Counsel has conferred with the Government who does not oppose a continuance

for the status hearing as there is an extension of time to the plea offer which is set to

April 7th, no harm will come to either party, and Defendant Slaughter will not oppose

tolling timing. consents to a waiver to exclude the time within which the trial must

commence under the Speedy Trial Act, 18 U.S.C. § 3161, for the time between March 8,

2023, the date the Indictment was filed (ECF No. 11), and the date of the next status

hearing on April 25, 2023.
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      WHEREFORE, Defendant Slaughter prays that this Court enter an order

continuing the status hearing scheduled for March 28, 2023, as it relates to the extension

of a plea offer by the Government made to Defendant Richard Slaughter for a time after

the April 7th date.



Dated: March 24, 2023

                                             Respectfully Submitted,

                                                                        /s/ John M. Pierce
                                                                            John M. Pierce
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                                                                     3rd Floor, PMB #172
                                                               Woodland Hills, CA 91367
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                                                       Email: jpierce@johnpiercelaw.com

                                                                   Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, March 25, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                             /s/ John M. Pierce
                                             John M. Pierce
